






					     			       





	





IN THE COURT OF CRIMINAL APPEALS


OF TEXAS
		





				   	NO. WR-63,763-02		




EX PARTE TOM DELAY, Applicant






ON APPLICATION FOR A WRIT OF HABEAS CORPUS


FROM TRAVIS COUNTY






		The order was delivered per curiam.  Keller, P.J. dissenting.  Womack, J.,
not participating.


ORDER 




	Tom DeLay has filed pleadings seeking habeas corpus relief.  It is ordered that the State may
respond to these pleadings no later than one week from the date of this order.


DELIVERED: December 27, 2005

DO NOT PUBLISH


